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                                UNITED STATES BANKRUPTCY COURT
                                     DISTRICT OF MARYLAND
                                      GREENBELT DIVISION

 In Re:                                            *
                                                   *
 MARK DEMPSEY                                      *              Bankruptcy No. 19-12805WIL
                                                   *                    (Chapter 7)
                                                   *
                  Debtor.                          *

                                 DESIGNATION AS ASSET CASE AND
                                 REQUEST TO SET CLAIMS BAR DATE

          TO THE CLERK OF THE BANKRUPTCY COURT:
          Roger Schlossberg, Trustee, reports that he has reviewed the Schedules and Statement
of the Debtor(s) and believes this case contains assets administrable for the benefit of creditors
of the estate.
          Kindly issue a notice to creditors pursuant to Bankruptcy Rule 3002(5) directing the filing
of claims in the case


                                                       /s/ Roger Schlossberg
                                                       Roger Schlossberg, TRUSTEE
                                                       P.O. Box 2067, 18421 Henson Blvd., Suite 201
                                                       Hagerstown, MD 21742-2067
                                                       (301) 739-8610


                                         Certificate of Service
           I HEREBY CERTIFY that on this date, October 3, 2019, a copy of the foregoing was
served electrically to those recipients authorized to receive a Notice of Electric Filings by the
Court.
                                                       /s/ Roger Schlossberg
                                                       Roger Schlossberg, TRUSTEE
